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                                                                 June 10, 2021

          Mr. Lyle W. Cayce
          Clerk of Court
          United States Court of Appeals for the Fifth Circuit
          600 South Maestri Place
          New Orleans, LA 70130

                           RE: Sonia Poincon v. Offshore Marine Contractors, Inc.v.
                           REC Marine Logistics, LLC
                           Case No.: 20-30765, U.S. Court of Appeal for The Fifth Circuit

                   Pursuant to Fed. R. App. P. 28(j), Offshore Marine Contractors submits this Court’s en
          banc decision in United States v. Hitchmon, 602 F.2d 689, 691-92 (5th Cir. 1979), where this Court
          held that the district court retains jurisdiction during an appeal to “take action in aid of the appeal.”
          In light of Hitchman, Offshore Marine Contractors is filing with the district court a motion to enter
          final judgment as to the district court’s appealed ruling and establish jurisdiction under Rule 54(b).

                  Before Hitchman, this Court held that an appeal divested the district court of jurisdiction
          of the appealed subject matter. Bush v. United Benefit Fire Ins. Co., 311 F.2d 893, 894 (5th Cir.
          1963). In Kirtland v. J. Ray McDermott & Co., 568 F.2d 1166 (5th Cir. 1978), this Court
          questioned whether Bush should remain: “[. . .] it is undesirable, indeed a mere technicality, to
          dismiss the appeal and require the parties to make an unnecessary round trip to the trial court.” Id.
          at 1170, citing Wright & Miller, Federal Practice & Procedure, § 2660; Moore’s Federal
          Practice, § 203.11.

                  That rule changed in United States v. Hitchmon, 602 F.2d 689, 691 (5th Cir. 1979), where
          this Court held en banc that “the notice of appeal from a nonappealable order does not render void
          for lack of jurisdiction acts of the trial court taken in the interval between the filing of the notice
          and the dismissal of the appeal.” Under Hitchmon, the district court is able to take action in aid of
          the appeal. Id. at 692. In light of Hitchmon, the district court has the authority to enter a Rule 54(b)
          designation, particularly if this Court lacks jurisdiction under Fed. R. Civ. P. 1292(a)(3).

                   Offshore Marine Contractors anticipates moving to supplement the record following the
          district court’s ruling on OMC’s motion for a Rule 54(b) designation. If the district court grants
          OMC’s motion, in the event this Court lacks jurisdiction under 28 U.S.C 1292(a)(3), this Court
          will have the discretionary opportunity to take jurisdiction under Rule 54(b).




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                                       Respectfully submitted:

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CC: All counsel of record.
